Dear Secretary Carnahan:
This opinion letter responds to your request dated June 10, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Anne Adams regarding a proposed constitutional amendment to amend Article III of the Missouri Constitution (version 4). The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to prohibit the repeal or amendment by the General Assembly of a statute enacted by citizen initiative passed by the voters of Missouri, except by either a three-fourths vote of the members of each house or a vote of the people through a referendum or unless such statute explicitly provides that the general assembly may repeal or amend it by a majority vote of the members of each house?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed *Page 2 
as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________ CHRIS KOSTER Attorney General *Page 1 